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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



 Robert Ross, Individually,                  :   Consolidated Case Nos.
 and on behalf of all others                     2:05-cv-0819
 similarly situated,                         :   2:05-cv-0848
                                                 2:05-cv-0860
             Plaintiff,                      :   2:05-cv-0879
                                                 2:05-cv-0893
       v.                                    :   2:05-cv-0913
                                                 2:05-cv-0959
 Abercrombie & Fitch Company,                :   2:05-cv-0964
 et al.,                                         2:05-cv-0998
                                             :   2:05-cv-1084
             Defendants.
                                             :   JUDGE SARGUS


                              OPINION AND ORDER

       These securities cases are before the Court to resolve the
 securities plaintiff’s motion to compel discovery concerning the
 Special Litigation Committee report.            The background of that
 report is described in detail in the Court’s Opinion and Order of
 March 14, 2008 and will not be unnecessarily repeated here.                For
 the following reasons, the motion will be denied.
                                        I.
       In its March 14, 2008 Opinion and Order, the Court granted
 additional discovery concerning the Special Litigation Committee
 report to the derivative plaintiffs.            Those plaintiffs had
 already been provided with a copy of the report in connection
 with the motion to dismiss the derivative actions.              By contrast,
 the plaintiffs in the securities cases have received neither a
 copy of the report nor any additional discovery concerning the
 process followed by the committee or the materials gathered by
 the committee as part of its preparation.
       Clearly, the report itself and the materials gathered by the
 committee in connection with the preparation of the report are
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 relevant to plaintiffs’ claims.          There is a substantial overlap
 between the claims of the private securities plaintiffs and the
 claims of the derivative plaintiffs which are addressed in the
 report.    The dispute between the parties centers not on the
 relevance of these materials but upon Abercrombie’s assertion of
 the attorney-client and work product privileges for them, and the
 plaintiffs’ insistence that any applicable privileges have been
 waived.    Each party claims that the Court of Appeals for the
 Sixth Circuit has decided the key issues in favor either of
 disclosure of such materials, see In re Columbia/HCA Healthcare
 Corp. Billing Practices Litigation, 293 F.3d 289 (6th Cir. 2002),
 or in favor of protecting them from disclosure.              See In re
 Perrigo Co., 128 F.3d 430 (6th Cir. 1997).            Thus, the primary
 focus of this Opinion will be the applicability of the two
 privileges to the Special Litigation Committee report and
 associated documents in light of these two decisions.
                                       II.
       Logically, the first issue to be addressed in any case where
 one party claims that any applicable privileges have been waived
 is whether the privileges attach to the requested documents in
 the first instance.       If not, there is no need to reach the waiver
 issue.    Plaintiffs present a brief argument in their motion that
 Abercrombie has not established the fundamental prerequisites
 needed to support a finding that the report and associated
 documents either contain attorney-client privileged
 communications or are protected by the work product doctrine.                 In
 response, Abercrombie cites Perrigo as authority for the
 proposition that these documents are privileged.              Plaintiffs do
 not press the issue further in their reply brief.              Given the fact
 that these documents appear to have been prepared exclusively for
 use in litigation (i.e. the derivative action) either at the
 request of or with the direct participation of attorneys, it


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 seems reasonable to conclude that they fall within the scope of
 the work product doctrine.        Moreover, some of them are clearly
 attorney-client communications.          Since the waiver arguments made
 are largely the same for both privileges, the Court will now turn
 to the question of whether anything Abercrombie has done thus far
 with either the Special Litigation Committee report or the
 documents prepared specifically for the Committee (as opposed to
 pre-existing documents reviewed by the Committee, which, of
 course, cannot acquire privileged status simply because they are
 used by a committee whose final report may be privileged) has
 waived any applicable privilege which might otherwise prevent the
 plaintiffs from obtaining these documents through discovery.
                                       III.
       The primary way in which, according to plaintiffs,
 Abercrombie waived any privileges for the report and associated
 documents was the production of the report to the derivative
 plaintiffs when it filed its motion to dismiss.              Although the
 motion was filed under seal, it was necessary for Abercrombie to
 serve the derivative plaintiffs with a copy of the report so that
 they could adequately respond to the arguments presented in the
 motion.    Plaintiffs contend that any disclosure of a privileged
 document to someone other than the holder of the privilege must
 be characterized as an effort to “selectively waive” the
 privilege, and that such selective waivers have been rejected by
 the Court of Appeals.       Thus, the Court must examine the
 circumstances and legal landscape underlying the disclosure of
 the report to the derivative plaintiffs.
       The pertinent legal landscape is set forth in detail in the
 Court’s March 14, 2008 Opinion and Order.            Under Delaware law, a
 corporation whose shareholders have filed a derivative action on
 its behalf is entitled to request dismissal of that action if, in
 the view of a disinterested director or committee of directors,


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 pursuit of the action is not in the corporation’s best interests.
 See Zapata Corp. v. Maldonado, 430 A.2d 779 (Del. 1981).                Any
 motion for dismissal is typically accompanied by a report from
 the director or committee setting forth the basis for the
 conclusion that the corporate interests are not being advanced by
 the litigation in question.         The court to which the motion is
 directed must, of course, have access to the report in order to
 discharge its duty to insure both that the request for dismissal
 is being made in good faith and by a truly independent director
 or committee, and that sound principles of business judgment
 support the request.       Zapata, 430 A.2d at 788-89.         Additionally,
 the parties who filed the derivative action must be able to view
 the report (and, as the Court held in its March 14, 2008 Opinion,
 many of the documents associated with that report) in order to be
 able adequately to respond to the motion to dismiss.               Abercrombie
 disclosed the report to the derivative plaintiffs in that
 context, although the motion to dismiss was filed under seal.
 Thus, the question is whether the disclosure of the report to the
 derivative plaintiffs under these specific circumstances waived
 any privileges that otherwise attached to the report.
       In In re Perrigo, 128 F.3d 430 (6th Cir. 1997), the Court of
 Appeals was presented with a mandamus petition directed to the
 United States District Court for the Eastern District of
 Michigan.    The petitioner, Perrigo Company, was, like
 Abercrombie, named as a defendant both in a derivative action and
 in a private securities action which had been filed in the
 District Court.      It moved for dismissal of the derivative action
 under a Michigan statute that operates in a similar fashion to
 the court-crafted Zapata rule.         It did not, however, produce the
 report to the derivative plaintiffs, claiming privilege.                The
 District Court held that the report had to be disclosed to the
 derivative plaintiffs because they had shown a substantial need


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 for it and demonstrated sufficient hardship if they were denied
 access to it.     The court also held that Perrigo was under no
 obligation to disclose the report to the private plaintiffs
 because they could not make a similar showing of need and
 hardship.    However, it went on to opine that once the report was
 filed with the court, it would become a public record and that
 anyone, including the private plaintiffs, could gain access to
 it.   Perrigo sought a writ of mandamus vacating that portion of
 the order, arguing that its ability to petition for dismissal of
 the derivative case should not be conditioned on its waiver of
 the right to claim that the report is privileged.
       The Court of Appeals granted the writ.            In doing so, it
 addressed only the question of whether Perrigo, by submitting the
 report to the District Court as support for its motion to
 dismiss, necessarily waived any protection for the report and
 consented to have it become part of the public record.
 Concluding that the Michigan legislature could not have intended
 such a result, and that to hold otherwise would discourage an
 independent review committee from making or relying upon written
 reports for fear that they would become part of the public
 record, the Court held that the mere submission of the report in
 connection with the statutorily-prescribed procedure was not a
 waiver of privilege.       Id. at 441.      The Court left open the
 possibility, however, that after a decision was issued on the
 motion to dismiss, the District Court might find that the
 public’s right to be informed of the basis of that decision would
 outweigh Perrigo’s interests in keeping the report confidential,
 and it might therefore (after a hearing) order public disclosure
 of some or all of the report.         The Court of Appeals was not asked
 to review the correctness of the District Court’s opinion that
 the private plaintiffs, independent of the public’s right to
 access court filings, were not entitled to obtain the report and


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 associated documents through discovery.
       Here, the private plaintiffs are not asking this Court to
 hold that the report became an open public record when
 Abercrombie filed it under seal in support of its motion to
 dismiss.    Therefore, the precise holding of Perrigo is
 inapplicable.     Nonetheless, Abercrombie cites it as evidence that
 the Court of Appeals would not imply a full-scale waiver of any
 applicable privilege simply because the report was submitted in
 support of a motion which Abercrombie not only had a right to
 file under applicable Delaware law, but which it was obligated to
 support by tendering the report to the Court and to the
 derivative plaintiffs solely for their use in connection with
 that motion.
       In some sense, Perrigo can be read as endorsing the concept
 of a “selective” waiver of privilege, although the court denied
 that it was ruling on a question of selective waiver, see id. at
 441 n.9m(“we need not decide if we would approve of a ‘selective’
 waiver in this case”).       That decision did permit the privilege
 holder to disclose a privileged document to someone outside the
 scope of those to whom the document could properly be disclosed
 while still preserving the privilege, and under circumstances
 where the disclosure was made to advance the interests of the
 holder of the privilege.        In another sense, however, Perrigo can
 be read to say that the disclosure of the report under those
 unique circumstances is essentially involuntary, at least in the
 sense that once the corporation chooses to take advantage of the
 statutory procedure and move to dismiss the derivative case, it
 must thereafter file the report and disclose it to the derivative
 plaintiffs.     True, it could simply forego filing a motion to
 dismiss at all, but the Court of Appeals clearly concluded that
 the Michigan legislature did not intend to condition the right to
 file such a motion on the corporation’s agreement to make public


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 the results of its investigation into the potential merit (or
 lack of merit) of the claims advanced in the derivative case.
       Perrigo did acknowledge the general principle that any
 waiver of privilege is typically construed as a general waiver,
 and that selective or limited waivers of privilege are not
 ordinarily acknowledged by the courts.           The Court of Appeals
 reconfirmed that general understanding in the case relied upon by
 plaintiffs, In re Columbia/HCA Healthcare Corp. Billing Practices
 Litigation, 293 F.3d 289 (6th Cir. 2002).            There, the first
 disclosure of the documents in question was made to the
 Department of Justice in connection with a fraud investigation.
 Columbia and the DoJ entered into an agreement stating that the
 production of the documents would not constitute a waiver of any
 applicable privileges.       Later, private parties sued Columbia
 based on the same conduct which the DoJ had investigated and
 asked Columbia to produce those documents which it had turned
 over to the DoJ.      Columbia resisted doing so, asserting that the
 documents were privileged and that its prior production of them
 was not a waiver.
       The Court of Appeals disagreed.          Citing to Perrigo only in
 passing, and neither overruling nor attempting to distinguish it,
 the Court held that a party may not voluntarily share information
 with a government agency for its own benefit (i.e. as part of an
 effort to negotiate a favorable resolution in a governmental
 enforcement action) without waiving the privileges that otherwise
 would attach to that information.           The Court rejected both a line
 of cases that always permitted such “selective” waiver under
 similar circumstances and a line of cases finding a “middle
 ground,” reasoning that a bright line rule rejecting selective
 waiver in any of its forms made the law more predictable, and
 that permitting selective waivers did nothing to protect the
 ability of clients to interact freely with their attorneys or to


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 seek legal advice.      The question then becomes, at least as the
 parties have briefed it, whether the Columbia/HCA decision
 applies to the type of disclosure made here, and whether, to the
 extent that Perrigo did recognize and validate a form of
 “selective waiver” under these specific circumstances, it is
 still good law.
                                       IV.
       It is perhaps not surprising that the parties have focused
 their arguments on Perrigo and Columbia/HCA.             There appear to be
 few, if any, other decisions from federal courts which address
 this issue.     Those which have done so can be distinguished.             For
 example, the court in Matter of Continental Illinois Securities
 Litigation, 732 F.2d 1302 (7th Cir. 1984) held that the public -
 in particular, the Wall Street Journal - was entitled to a copy
 of the Special Litigation Committee report which had been filed
 with the District Court, but only because the corporation had
 voluntarily offered the report into evidence at a public hearing
 without seeking the guidance of the court on the implications of
 doing so and had publicly discussed the contents of the report at
 that hearing.     Obviously, none of those things have yet occurred
 in this case.     Joy v. North, 692 F.2d 880 (2d Cir. 1982), upon
 which the Continental Illinois case relied, contains an
 unequivocal statement that the mere submission of the report to
 the court in connection with summary judgment proceedings waives
 any and all privileges and makes the report a matter of public
 record - a conclusion totally at odds with the holding of
 Perrigo.    State courts which have considered this issue have made
 similar rulings on the public records question, noting, as did
 the Perrigo court, that there may come a time when the report
 must be made public in whole or in part because it has formed the
 basis for an adjudication - see, e.g., Dreiling v. Jain, 151
 Wash.2d 900, 93 P.3d 861 (2004) - but that reasoning is not

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 helpful in determining whether, at this juncture, the report is
 discoverable by any parties other than the derivative plaintiffs.
 If anything, that reasoning supports Abercrombie’s assertion that
 until the Court actually makes an adjudication of the motion to
 dismiss and holds the type of hearing contemplated by Perrigo,
 there has been no waiver of any privilege because it is proper to
 maintain the report under seal.
       Considering all of these factors, the Court concludes that
 it must follow the Perrigo decision in deciding whether the mere
 filing of the report in support of the request to dismiss the
 derivative action is a waiver of applicable privileges.               If that
 act waived the privileges, there would have been no need for the
 Perrigo court to issue a writ of mandamus the effect of which was
 to prevent the report from becoming a public record the instant
 it was filed.     There would similarly have been no need for that
 court to direct that, at an appropriate time, a hearing be held,
 and that the privacy interests of the corporation be balanced
 against the public’s right to know the basis of the District
 Court’s decision.      The privacy interests in question are simply
 those protected by either the attorney-client or work product
 privileges, and if they had been waived by the filing of the
 report, there would be nothing to balance.            Because Columbia/HCA
 did not deal with the Perrigo scenario, which, as noted above,
 can be conceptualized as an involuntary disclosure of privileged
 materials (or, at the minimum, a disclosure that becomes
 mandatory upon the corporation’s choice to exercise a right
 created for the benefit of its shareholders), and because the
 panel in Columbia/HCA neither had the authority to overrule a
 prior panel decision nor purported to do so, that decision does
 not compel a different result here.           At an appropriate time, the
 Court will follow Perrigo’s directive to hold a hearing
 concerning how much, if any, of the report to make public.                Since


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 that time has not yet arrived, the report remains privileged and
 therefore not subject to discovery by the private securities
 plaintiffs.
                                        V.
       This decision does not end the discussion, however.
 Plaintiffs raise two additional arguments in support of their
 motion.    First, they contend that to the extent the work product
 privilege applies, they can overcome the operation of that
 privilege by showing a substantial need for the documents in
 question and that they cannot obtain the same information absent
 undue hardship.      Second, relying on a recent decision from the
 Delaware Court of Chancery, they contend that when the Special
 Litigation Committee report was disclosed to Abercrombie’s other
 directors and their counsel, any applicable privileges were
 waived.    Ultimately, neither of these arguments are persuasive.
       In support of their effort to overcome the work product
 claim, plaintiffs argue that they need this information because
 it will undoubtedly be used by Abercrombie to defend itself
 against plaintiffs’ claims, and that if plaintiffs are allowed to
 know “sooner rather than later” the bases of Abercrombie’s
 defenses, they can save resources.           Plaintiff’s reply, doc. #
 158, at 13.     Additionally, they assert that it will be more
 expensive for them to obtain the equivalent of this information
 through the ordinary channels of discovery, and that incurring
 such expense is an undue hardship.
       The problem with these arguments is that they apply to
 almost any case.      It would certainly be easier for a party to
 obtain copies of the opposing party’s work product in order to
 get a head start on understanding the defenses that will be
 raised, and far cheaper than pursuing the equivalent material
 through the standard discovery process.            Those types of
 advantages are not sufficient to overcome the work product


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 doctrine.     Here, there is no reason to believe that any of the
 factual information set forth in the report will not be available
 to plaintiffs through discovery.          There is no indication that any
 of the key witnesses have become unavailable or that unforseen
 circumstances have arisen which would prevent plaintiffs from
 having the same access to witnesses and documents that the
 Special Litigation Committee and its counsel enjoyed.               Should
 something of that nature occur, plaintiffs are free to renew
 their argument that they are unable to procure this information
 either at all or without undertaking some avenue of discovery or
 investigation that is above and beyond what litigation ordinarily
 entails.     Based on the present record, however, plaintiffs’
 arguments about need and hardship lack merit.
       Plaintiffs’ other argument is based upon the recent case of
 Ryan v. Gifford, 2007 WL 4259557 (Del. Ch. November 30, 2007).
 In that case, the corporation involved (Maxim) had apparently
 created a Special Committee to investigate certain alleged
 corporate wrongdoings (although it was not a Zapata commitee).
 The plaintiffs in an action concerning these alleged actions
 sought a copy of the report and all communications between the
 committee and the attorneys who assisted in the preparation of
 the report.     In holding that the report was not privileged, the
 court, relying on factors identified in Garner v. Wolfinbarger,
 430 F.2d 1093 (5th Cir. 1970), held that the communications were
 not privileged from disclosure to corporate shareholders because
 the information was largely unavailable to them from other
 sources.     Garner had concluded that the attorney-client privilege
 was not absolute in the context of a shareholder’s request for
 information from the company in which he or she held stock
 because, in some situations, the privileged communications were
 made for the benefit of the shareholders and those shareholders
 can, upon a showing of good cause, put themselves in the


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 corporation’s shoes and essentially become holders of the
 privilege.     Under the Garner analysis, waiver is irrelevant
 because the privilege never attaches in the first instance.                 The
 plaintiffs here, however, do not appear to be making a “good
 cause” claim under Garner.
       On the waiver issue, Ryan concluded that any privilege
 attaching to the report had been waived when the report was
 presented to Maxim’s board of directors.            The court identified
 the “client” who held the privilege to be the Special Committee
 and not the corporation.        Therefore, members of the board of
 directors who were not also members of the committee were third
 parties to whom the report could not be disclosed without waiving
 privilege.      The court rejected any notion that the directors and
 the committee shared a common interest, noting that the committee
 had investigated allegations that the board members had
 themselves engaged in wrongdoing, and that the interests of the
 committee and the board were therefore adverse.              Ryan, 2007 WL
 4259557, *3 n.8.
       In a subsequent opinion, the Ryan court set forth additional
 background for its decision.         Ryan v. Gifford, 2008 WL 43699
 (Del. Ch. Jan. 2, 2008).        That opinion makes clear that the
 action against Maxim was based on alleged backdating of stock
 options granted to, among others, members of Maxim’s board of
 directors, that the committee (composed of a single director) was
 formed to investigate these allegations, and that he shared his
 conclusions with the other directors, many of whom were named
 defendants in the securities action, and the attorneys
 representing them in that case, apparently in order to assist
 them with their defense.        Maxim also disclosed details of the
 investigation to NASDAQ, in public press releases, and in various
 motions presented to the court, all of which were public filings.
 The court described this activity as the “convenient and


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 selective invocation of the attorney-client privilege,” id. at
 *4, and denied the defendants’ request to certify the issue for
 interlocutory appeal.        The court also noted that its ruling under
 Garner that the information was not privileged at all had not
 been challenged and that it provided a completely independent
 basis for ordering disclosure of the report.             Thus, the
 discussion of the waiver question was unnecessary to the court’s
 decision that the plaintiffs were entitled to obtain the report
 and associated information through discovery.             Id.
       Apart from the fact that the entire discussion of waiver in
 the Ryan opinion is dictum, the Court must consider whether that
 analysis is persuasive.        Plaintiffs correctly argue that one fact
 which distinguishes this case from Perrigo is the absence, in
 that case, of any disclosure of the report to the other
 directors.     See Perrigo, 128 F. 3d at 438 (the committee did not
 “disclose any of the contents to the Perrigo Board and counsel”).
 Thus, the question becomes whether Perrigo is inapplicable to
 cases where that type of disclosure occurred - that is, that the
 holding of Perrigo would have been different had the report been
 shared with the other directors and their attorneys.
       In the Court’s view, this question is far too complex to
 resolve on the basis of the three short memoranda filed which
 urge the Court either to follow, or not follow, Ryan.                The
 crucial questions, which none of the parties have addressed in
 any meaningful manner, are, first, whether under the specific
 facts of this case - which are arguably very different than those
 presented in Ryan - do the Special Litigation Committee and the
 Abercrombie directors with whom the report was shared have a
 sufficient commonality of interest in the dismissal of the
 derivative action in a Zapata proceeding to permit the sharing of
 the report without waiver of the privilege; and, second, even if
 a traditional commonality-of-interest analysis would suggest they


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 do not, do the policy considerations identified in Perrigo
 (namely the desirability of allowing a corporation to take
 advantage of a Zapata-type procedure because it may procure a
 benefit both to the corporation and its shareholders) affect the
 analysis and favor permitting this additional disclosure without
 a waiver of the privilege?         On this record, the Court is simply
 unable to answer these questions.            Consequently, the Court
 expresses no view on them, other than to say that if plaintiffs
 wish to pursue their quest for the report and associated
 documents in advance of any Perrigo hearing, they must delve into
 these issues and present additional argument and briefing at a
 later date.

                                 VI.
       For the foregoing reasons, plaintiffs’ motion to Compel
 Discovery (#156) is denied.

       Any party may, within ten (10) days after this Order is filed,
 file and serve on the opposing party a motion for reconsideration
 by a District Judge.       28 U.S.C. §636(b)(1)(A), Rule 72(a), Fed. R.
 Civ. P.; Eastern Division Order No. 91-3, pt. I., F., 5.                     The
 motion must specifically designate the order or part in question
 and the basis for any objection.          Responses to objections are due
 ten days after objections are filed and replies by the objecting
 party are due seven days thereafter.              The District Judge, upon
 consideration of the motion, shall set aside any part of this Order
 found to be clearly erroneous or contrary to law.

       This order is in full force and effect, notwithstanding the

 filing of any objections, unless stayed by the Magistrate Judge or
 District Judge.      S.D. Ohio L.R. 72.4.


                                      /s/ Terence P. Kemp
                                      United States Magistrate Judge

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